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                      No. 22-40328


   IN THE UNITED STATES COURT OF APPEALS
           FOR THE FIFTH CIRCUIT


        CONSUMERS’ RESEARCH; BY TWO, L.P.,
                                      Plaintiffs-Appellees,
                                v.
     CONSUMER PRODUCT SAFETY COMMISSION,
                                      Defendant-Appellant.


      On Appeal from the United States District Court
            for the Eastern District of Texas


                      REPLY BRIEF


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         INTRODUCTION AND SUMMARY OF ARGUMENT

      Plaintiffs’ response brief only highlights the artificiality of the district

court’s Rule 54(b) judgment in this case. Plaintiffs defend the district

court’s “partial final judgment” as though it were routine for district courts

to split off a legal premise of a litigant’s claim and quickly enter final

judgment declaring the court’s assessment of that premise, without regard

to the factual controversy or cause of action before the court. As our

opening brief explained, both this Court and the Supreme Court have long

admonished against allowing Rule 54(b) to be abused in this manner. “[A]

complaint asserting only one legal right, even if seeking multiple remedies

for the alleged violation of that right, states a single claim for relief” under

Rule 54. Liberty Mutual Ins. Co. v. Wetzel, 424 U.S. 737, 743 n.4 (1976).

Plaintiffs assert (Br. 61) that this Court “dismissed that language” in

Eldredge v. Martin Marietta Corp., 207 F.3d 737, 741 (5th Cir. 2000), but

this Court has never suggested that Rule 54(b) permits the sort of advisory

opinion that the district court issued here. To the contrary, this Court has

consistently made clear that partial judgment under Rule 54(b) is improper

when all requested relief turns on the disposition of one legal theory.

      The district court’s error in entering the Rule 54(b) judgment here is

particularly clear because plaintiffs would lack standing to challenge the
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Consumer Product Safety Commission’s (CPSC or Commission) structure

in the absence of their Freedom of Information Act (FOIA) requests.

Plaintiffs urge that they would independently have standing under Free

Enterprise Fund v. Public Co. Accounting Oversight Board, 561 U.S. 477

(2010). But in Free Enterprise, a plaintiff was subject to pervasive

regulation by the Board, required to register with the Board as a condition

of doing business, and subject to a pending Board investigation for

potential wrongdoing. In those circumstances, the Supreme Court held

that the plaintiffs could pursue their claim against the Board in district

court. By contrast, plaintiffs here are not regulated by the Commission,

required to register with it, or subject to any discipline by it. Apart from

their FOIA requests, they are strangers to the agency. If plaintiffs had filed

a complaint seeking only the abstract declaration of law that the district

court awarded, the complaint would have warranted immediate dismissal

for lack of Article III standing. Rule 54(b) is not a vehicle for evading

Article III’s limitations.

      Because the district court improperly entered partial final judgment,

this Court should vacate and remand on that ground. But if the Court

reaches the merits of plaintiffs’ constitutional argument, it should reaffirm

that a district court may not disregard or rewrite governing Supreme Court



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precedent, even if the district court believes the Supreme Court might

someday do so. The Supreme Court has never held removal restrictions for

heads of multi-member agencies to be unconstitutional, and it certainly did

not do so in Seila Law LLC v. CFPB, 140 S. Ct. 2183 (2020), which

addressed novel removal restrictions for an agency headed by a single

Director. On the contrary, Seila Law expressly contemplated that Congress

could salvage removal protections for CFPB’s leadership by “converting the

CFPB into a multimember agency,” id. at 2211, a suggestion that would be

incoherent on plaintiffs’ reading of that decision. The district court’s

conclusion that removal restrictions are unconstitutional with regard to any

agency that wields substantial executive power would impose limitations

never recognized by the Supreme Court and would effectively render

Humphrey’s Executor a dead letter, as plaintiffs identify no agency that

could have removal protections under the test applied by the district court.

      The district court appeared to believe that Seila Law portends the

overruling of Humphrey’s Executor. But as the Supreme Court has

repeatedly stated, the prerogative to decide whether to overrule its own

cases—indeed, the prerogative to decide whether to entertain that question

at all—belongs to the Supreme Court and the Supreme Court alone. This

Court should reiterate that a district court does not have “license to



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disregard or overrule [Supreme Court] precedent” on its own authority,

whatever it may believe the Supreme Court itself will do. National Coal. for

Men v. Selective Serv. Sys., 969 F.3d 546, 550 (5th Cir. 2020) (per curiam).

                                 ARGUMENT

I.    The District Court’s Entry Of Partial Judgment Under
      Rule 54(b) Is Invalid Because Plaintiffs’ Complaint
      Does Not Present Multiple Claims

       Plaintiffs offer no persuasive defense of the district court’s misuse of

Rule 54(b). The district court declared that the structure of the CPSC

violates the Constitution and purported to enter a final judgment

embodying that conclusion, yet it issued no ruling on the FOIA-related

claims for relief that plaintiffs used to initiate this dispute. That is a classic

advisory opinion: a naked conclusion of law, unconnected to any concrete

factual controversy. The Rule 54(b) mechanism, which exists to permit the

entry of partial final judgment on separate claims in litigation involving

multiple claims for relief, does not permit a district court to issue

declarations of law abstracted from any live controversy before the court.

      It is axiomatic that “a district court does not resolve a ‘claim’ merely

by ruling on a threshold legal issue relevant to that claim.” Tetra Techs.,

Inc. v. Continental Ins. Co., 755 F.3d 222, 230 (5th Cir. 2014) (first citing

Eldredge v. Martin Marietta Corp., 207 F.3d 737, 740-42 (5th Cir.



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2000); and then citing Halliburton Co. Benefits Comm. v. Graves, 191 F.

App’x 248, 249 (5th Cir. 2006) (per curiam)). The Supreme Court’s

decision in Liberty Mutual Insurance Co. v. Wetzel, 424 U.S. 737 (1976), is

illustrative. The plaintiffs in that case sought various forms of relief based

on claims of Title VII violations. Id. at 740. After the district court issued a

liability ruling favorable to plaintiffs, id. at 740-42, the court issued a

partial judgment under Rule 54(b) without addressing plaintiffs’ requests

for concrete relief, see id. at 742 (“They requested an injunction, but did not

get one; they requested damages, but were not awarded any.”). The

Supreme Court explained that the Rule 54(b) certification was improper

because, even accepting “that the District Court’s order was a declaratory

judgment on the issue of liability, it nonetheless left unresolved

respondents’ requests for an injunction, for compensatory and exemplary

damages, and for attorneys’ fees.” Id. at 742.

      That ruling applies with full force here. Each of plaintiffs’ “counts”

simply enumerates one aspect of the relief they seek for injuries allegedly

arising from a single asserted constitutional violation. Indeed, Count I

explicitly seeks relief regarding the validity of the FOIA rule and the validity

of the Commission’s decisions on plaintiffs’ FOIA requests. See ROA.37.

As in Liberty Mutual, those requests for relief stem from a single legal



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theory—here, that the Commission’s structure is unconstitutional. That

single claim is not resolved until the district court addresses those

remaining forms of relief. As this Court observed in Eldredge, “[t]he

[Supreme] Court has recognized that ‘a complaint asserting only one legal

right, even if seeking multiple remedies for the alleged violation of that

right, states a single claim for relief.’” 207 F.3d at 741 (quoting Liberty

Mut., 424 U.S. at 743 n.4).

      Plaintiffs insist that Eldredge “dismissed that language” from Liberty

Mutual (Br. 61), but this Court, of course, did not “dismiss” the Supreme

Court’s guidance. It stated, instead, that the “judicial crumbs” provided by

the holdings in Liberty Mutual and other cases “have failed to lead the

circuit courts to a consensus as to the handling of this confusing area of

law” and that “various methods” have “percolated amongst the circuits.”

Eldredge, 207 F.3d at 741. That no single bright line test governs all factual

permutations does not advance plaintiffs’ argument.

      To the contrary, this Court has stressed that, “[t]he lack of an

articulable standard notwithstanding,” there are several clear guideposts

for assessing the validity of a Rule 54(b) certification—including, as most

relevant here, that “a district court does not resolve a ‘claim’ merely by

ruling on a threshold legal issue relevant to that claim.” Tetra Techs., 755



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F.3d at 230. And in Eldredge itself, this Court endorsed the “presumption

. . . against characterizing a pleading as containing multiple claims for relief

rather than a single claim” and held that the Rule 54(b) certification in that

case was improper. Eldredge, 207 F.3d at 742. That “a strong factual

overlap” exists between the counts illustrates that they are but separate

aspects of a single claim. Id.

      Plaintiffs’ efforts to liken this case to Seatrain Shipbuilding Corp. v.

Shell Oil Co., 444 U.S. 572 (1980), are similarly unavailing. Br. 61-62. The

Seatrain complaint sought relief on two related but separately resolvable

claims regarding the Secretary of Commerce’s waiver of certain statutory

requirements for newly built ships: (1) declaratory relief on a general claim

that the Secretary could never waive those requirements as to any ship, and

(2) injunctive relief on a specific claim that the Secretary’s waiver as to a

particular ship constituted an abuse of discretion even if the Secretary

generally had authority to grant such waivers in some circumstances.

Seatrain, 444 U.S. at 580. The Supreme Court held that the district court’s

disposition of the general claim was a valid partial final judgment because it

completely disposed of the only relief sought in connection with that claim.

Id. at 583. “There were, in short, two claims made and two quite different

sorts of relief sought.” Id. at 581. Here, plaintiffs seek three forms of relief



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on the basis of a single claim. Unlike in Seatrain, the second and third

counts of the complaint here could not survive dismissal of the first count.

The complaint presents no theory, for example, under which application of

the Commission’s FOIA rule might be valid as to some requests but not as

to plaintiffs’ requests. Instead, liability under all three counts hinges on

one question of law: whether the Commission is unconstitutionally

structured.

      Plaintiffs are similarly wide of the mark in urging that this Court’s

vacated decision in Texas v. United States, 945 F.3d 355 (5th Cir. 2019),

furnishes a “‘persuasive’ guide” for the analysis here. Br. 53; see also Texas

v. United States, 352 F. Supp. 3d 665 (N.D. Tex. 2018). The complaint in

that case listed multiple constitutional claims that depended on distinct

legal theories. The plaintiffs there alleged that the challenged statutory

provisions (1) exceeded the scope of Congress’ Article I authority, (2)

violated the Due Process Clause of the Fifth Amendment, and (3) violated

the Tenth Amendment. Texas, 945 F.3d at 373 n.11. Plaintiffs also sought a

declaratory judgment that agency rules promulgated pursuant to the

Affordable Care Act (ACA) were unlawful and so violated the

Administrative Procedure Act and an injunction prohibiting federal officials

from enforcing the ACA. Id.



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      The district court first granted declaratory relief as to Count I (the

Article I claim). See Texas v. United States, 340 F. Supp. 3d 579, 605, 619

(N.D. Tex. 2018). In briefing on a motion for clarification, the government

argued that it appeared that the district court had not completed its

adjudication of all forms of relief sought by plaintiffs and that the judgment

did not, for that reason, satisfy Rule 54(b).1 The district court clarified its

ruling, stating its view that the complaint presented multiple separately

resolvable claims and that it would grant no further relief as to Count I.

Texas, 352 F. Supp. 3d at 671. The district court further explained that if its

order on Count I were “reversed in whole or in part, the Plaintiffs could still

seek relief under the theory put forth in Count II.” Id. at 670-71. That was

likewise true of the plaintiffs’ APA claim, which “presuppose[d] . . .

unconstitutionality but [sought] different relief,” id. at 671, because there

were two remaining theories under which the statute could be

unconstitutional. On that understanding, the government did not argue on

appeal that partial judgment was improper.2




      1
       See Federal Defendants’ Response at 8, Texas v. United States, No.
4:18-cv-00167, 2018 WL 8262516 (N.D. Tex. Dec. 21, 2018).
      See United States Brief at 3-4, Texas v. United States, No. 19-10011,
      2

2019 WL 2029722 (5th Cir. May 1, 2019).


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      The circumstances here are different. Plaintiffs assert only one theory

of constitutional error, and that theory is the basis for all three counts in

the complaint. As the district court itself acknowledged, “all three Counts

assert that the removal restriction in 15 U.S.C. § 2053(a) is

unconstitutional.” ROA.648. That statement only makes sense as an

acknowledgement that the three counts of the complaint do not merely

have some overlap (as was true in Texas) but are directed to a single claim

in the sense of Rule 54(b).

      In explaining the decision to enter partial final judgment, the district

court also noted that resolving Counts II and III would require the court to

decide additional questions about the appropriate relief. See ROA.648.

That is not a proper basis for entering partial final judgment under Rule

54(b). A plaintiff may seek multiple forms of relief on a single legal theory,

and some of those forms of relief may require a court to decide additional

questions (e.g., irreparable injury) or consider additional defenses (e.g.,

unclean hands) not relevant to others. Some of those additional questions

may be difficult or novel. Nevertheless, the plaintiff has but one “claim” for

purposes of Rule 54(b). That was the holding of Liberty Mutual: the Rule

54(b) judgment was improper there because, although the district court had

resolved liability, “it nonetheless left unresolved respondents’ requests for



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an injunction, for compensatory and exemplary damages, and for attorneys’

fees.” Liberty Mutual, 424 U.S. at 742.

      Finally, the errors underlying the district court’s analysis, and its

rationale for certification, are further underscored by this Court’s recent

decision in Community Financial Services Ass’n of America v. CFPB, 51

F.4th 616 (5th Cir. Oct. 19, 2022), which clarified the remedial analysis to

be undertaken under the principles established by the Supreme Court in

Collins v. Yellen, 141 S. Ct. 1761 (2021), after removal restrictions are found

to be invalid. The district court here believed that “Collins does not address

requests for prospective relief” and declined to address the government’s

motion to dismiss Counts II and III of the complaint because “the Fifth

Circuit has yet to clarify the requirements for obtaining retrospective relief

post-Collins.” ROA.641, 642 n.6. In Community Financial Services, this

Court clarified that “Collins did not rest on a distinction between

prospective and retrospective relief”; that a court’s analysis must consider

whether a challenged removal protection actually inflicted harm; and that

the analysis “remains the same whether the petitioner seeks retrospective

or prospective relief.” 51 F.4th at 631 (quoting Calcutt v. Federal Deposit

Ins. Corp., 37 F.4th 293, 316 (6th Cir. 2022)). Community Financial

Services makes clear that the same remedial analysis applies to all aspects



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of plaintiffs’ claims and highlights the district court’s error in treating the

declaratory judgment as distinct from its ruling on the FOIA issues that

generated the suit.

II.   Plaintiffs Lack Standing To Seek A Stand-Alone
      Declaratory Judgment

      Principles of Article III standing confirm that plaintiffs cannot seek a

declaratory judgment about the structure of the Commission as a stand-

alone claim separate from the alleged FOIA-related injuries that gave rise to

this suit. To defend the district court’s Rule 54(b) certification, plaintiffs

are at pains to divorce their request for declaratory relief from the FOIA-

related injuries that they claim to have suffered. They stress that the only

injury supporting the declaratory judgment count of the complaint is “the

threat of being subject to a regulatory scheme . . . lacking Article II

oversight,” as distinguished from the other counts of the complaint, which

assert financial injury and informational injury. Br. 55-56 (quoting

ROA.624). Similarly, they declare that “the relevant injury here is not an

increase in costs associated with plaintiffs’ pending and future FOIA

requests.” Br. 37. Instead, the only relevant allegation is that “those

requests will be handled by an agency unconstitutionally shielded from

presidential oversight.” Id.




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      These assertions, which are untethered from any alleged action by the

Commission, do not establish standing to assert a freestanding challenge to

the agency’s structure. Plaintiffs contend that their situation is identical to

that of the plaintiffs in Free Enterprise Fund v. Public Co. Accounting

Oversight Board, 561 U.S. 477 (2010), and they cite the district court’s

conclusion that they are “materially indistinguishable from the challengers

in Free Enterprise.” Br. 12. But plaintiffs’ circumstances bear little

similarity to those of the plaintiffs in Free Enterprise. In Free Enterprise,

the Court explained that the accounting-firm plaintiff in that case was

subject to pervasive regulation by a Board with “expansive powers to

govern” its activities. 561 U.S. at 485. The firm was required to “register

with the Board, pay it an annual fee, and comply with its rules and

oversight,” and failure to follow Board rules could constitute “a federal

crime punishable by up to 20 years’ imprisonment or $25 million in fines.”

Id. That firm, already under “formal investigation” by the Board, id. at 487,

declared that compliance with the Board’s auditing standards to date had

“substantially increased the time and expense of its public company audits

and reduced both its client capacity and its overall profits,” Free Enterprise

Fund v. Public Co. Accounting Oversight Board, 2007 WL 891675, at *2

(D.D.C. Mar. 21, 2007). Against that backdrop, the Court concluded that



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the plaintiffs were entitled to seek “declaratory relief sufficient to ensure

that the reporting requirements and auditing standards to which they are

subject will be enforced only by a constitutional agency accountable to the

Executive,” Free Enterprise, 561 U.S. at 513.

      In contrast, plaintiffs here are not regulated by the Commission.

They are not required to register with the Commission or subject to

disciplinary investigations by it. The Commission exercises no coercive

power over them at all. It cannot restrict the terms on which plaintiffs

conduct private commercial transactions, nor can it impose disclosure or

other reporting obligations on plaintiffs. Cf. State Nat’l Bank of Big Spring

v. Lew, 795 F.3d 48, 53 (D.C. Cir. 2015) (explaining that the plaintiff bank

had standing to challenge the constitutionality of CFPB because “[t]he Bank

is not a mere outsider asserting a constitutional objection to the Bureau,”

which had “already exercised its broad regulatory authority to impose new

obligations on banks, including State National Bank”). And plaintiffs, who

are not the respondents in any enforcement proceeding, never “hav[e] to

appear before” the Commission, despite their assertions to the contrary.

Br. 42 (quoting Cochran v. SEC, 20 F.4th 194, 209 (5th Cir. 2021)).

      Plaintiffs urge that they should nevertheless be treated as “entities

‘regulated by’ the CPSC” because they have alleged that they are frequent



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FOIA requesters and rely on FOIA for their operations. Br. 44. But that is

not the same as being a regulated party. Were the Public Accounting

Oversight Board abolished, the Free Enterprise plaintiffs would have been

able to conduct their business with greater freedom from governmental

regulation. By contrast, were the Commission abolished, plaintiffs here

would enjoy no greater freedom of action (and would no longer even be

able to seek information from the Commission).3 Indeed, if submitting a

FOIA request were sufficient to qualify as a regulated entity, any person

could manufacture standing to challenge the constitutionality of any federal

agency merely by filing such a request.

      In contrast to the regulated entities in Free Enterprise, plaintiffs

experience no injury from the Commission’s existence. Their only

interaction with the Commission has been to submit FOIA requests and to

receive the requested documents. Had they never submitted a FOIA

request, they would indisputably lack standing to sue. They are entitled to

seek relief for alleged FOIA-related injuries, assuming that plaintiffs can

demonstrate prejudice. But they have no standing to pursue freestanding


      3 Indeed, while the opening sentences of plaintiffs’ brief highlight the
Commission’s authorities to ban products, file enforcement suits, and
impose monetary penalties (Br. 1), plaintiffs do not and cannot allege that
there is any prospect that the Commission will take such regulatory actions
against them.


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constitutional claims untethered from the factual controversy that gave rise

to this suit.

      Plaintiffs argue at length that parties outside of highly regulated

industries can bring separation-of-powers challenges. Br. 38-41. But as

this Court and the Supreme Court often observe, standing is not dispensed

in gross. See, e.g., TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208

(2021). In each case cited by plaintiffs, the party asserting a removal

challenge identified specific injuries caused by the governmental defendant.

In Seila Law, the plaintiff was the target of an agency enforcement action

and was able to assert a separation of powers claim because it sustained

injury “from an executive act that allegedly exceeds the official’s authority,”

namely, being “compelled to comply with the civil investigative demand

and to provide documents it would prefer to withhold.” Seila Law LLC v.

CFPB, 140 S. Ct. 2183, 2196 (2020). In Collins, the plaintiff shareholders—

who were seeking only retrospective relief by the time of the Supreme

Court’s decision—asserted that “the [Federal Housing Finance Agency]

transferred the value of their property rights in Fannie Mae and Freddie

Mac to Treasury,” an allegation the Court described as the “sort of

pocketbook injury [that] is a prototypical form of injury in fact.” Collins,

141 S. Ct. at 1779; see also id. at 1780 (noting the shareholders’ claims for



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prospective relief were moot). Similarly, in Bowsher v. Synar, 478 U.S. 714

(1986), the individual plaintiff alleged a pocketbook injury because he

challenged a sequestration order that directly financially injured him

through the cancellation of a cost-of-living increase. Id. at 719. And in

Jarkesy v. SEC, 34 F.4th 446 (5th Cir. 2022), the petitioner was appealing

from an administrative determination in an enforcement proceeding that

imposed significant monetary remedies and barred the petitioner from

various securities industry activities. Id. at 450.

      Here, plaintiffs’ declaratory judgment claim asserts no comparable

injury. The Commission has interacted with plaintiffs only on plaintiffs’

own chosen terms: plaintiffs have solicited information from the

Commission by voluntarily submitting FOIA requests, and the agency has

responded to those requests by producing the documents that plaintiffs

have sought—and, to date, without even charging any fees (ROA.480-481).

Because plaintiffs’ interactions with the agency are wholly consensual and

free from any agency mandate, they cannot allege injury from the mere

existence of the Commission’s removal protections, untethered to any

adverse action taken by the Commission against them.

      The deficiencies of plaintiffs’ allegations of standing are further

exacerbated by the fact that there is no reason to believe that the



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Commissioners themselves, rather than lower-ranking staff, will play any

role in adjudicating plaintiffs’ future FOIA requests. This disconnect

underscores the speculative nature of plaintiffs’ claims that they suffer

injury from the Commissioners’ removal protections. Plaintiffs dismiss the

relevance of this point, asserting that they are under no obligation to assert

any “plausible nexus” between the challenged removal restrictions and the

adjudication of their FOIA requests because (plaintiffs say) “Collins does

not apply to plaintiffs seeking prospective relief.” Br. 46-47 (first quoting

ROA.640; and then quoting ROA.641). But after plaintiffs’ brief was filed,

this Court rejected the premise of plaintiffs’ argument, clarifying that

“Collins did not rest on a distinction between prospective and retrospective

relief,” and the “determination as to whether an unconstitutional removal

protection ‘inflicted harm’ remains the same whether the petitioner seeks

retrospective or prospective relief.” Community Financial Services, 2022

WL 11054082, at *8-9 (quoting Calcutt, 37 F.4th at 316). Plaintiffs also

argue that the agency’s General Counsel, who is responsible for the

adjudication of FOIA requests, is himself impermissibly insulated from

presidential control (Br. 48-50), but this passing swipe at an entirely

different officer only underscores the disconnect between plaintiffs’ actual




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controversy with the agency and their freestanding claim for declaratory

relief regarding the Commissioners’ removal protections.

III. The District Court’s Constitutional Holding Is Foreclosed By
     Supreme Court Precedent

      For the foregoing reasons, the district court’s partial final judgment

should be vacated and the case remanded so that the district court can

resolve the claims for relief. If the Court reaches the merits, however, it

should reiterate that a district court does not have “license to disregard or

overrule [Supreme Court] precedent” until and unless the Supreme Court

itself sets that precedent aside. National Coal. for Men v. Selective Serv.

Sys., 969 F.3d 546, 550 (5th Cir. 2020) (per curiam).

      Since the Supreme Court upheld the removal restrictions for the

multi-member Federal Trade Commission in 1935, Humphrey’s Executor

has been consistently understood to permit Congress to specify that

members of similar multi-member bodies may be removed only for

“inefficiency, neglect of duty, or malfeasance in office.” Humphrey’s

Executor v. United States, 295 U.S. 602, 620 (1935) (quoting 15 U.S.C.

§ 41). The Supreme Court has not reached a different conclusion with

respect to any multi-member agency.

      As we explained in our opening brief (at 26), the Commission is

among the multi-member agencies encompassed by the rule of Humphrey’s


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Executor. Justice Scalia confirmed that the Commission was encompassed

by Humphrey’s Executor, see Morrison v. Olson, 487 U.S. 654, 724-25

(1988) (Scalia, J., dissenting), as did then-Judge Kavanaugh when he

collected examples of constitutionally structured “independent agencies

[that] exercise[e] substantial executive authority,” PHH Corp. v. CFPB, 881

F.3d 75, 173 (D.C. Cir. 2018) (Kavanaugh, J., dissenting).

     The district court declared that Humphrey’s Executor extends only to

bodies exercising legislative or judicial rather than executive power and

that the Supreme Court understood the FTC to be exercising only such

authority at the time of its decision in 1935. ROA.629-634. In fact, the

Supreme Court was well aware in 1935 that “[t]he so-called legislative

functions performed by the [FTC] do not differ in nature from those

performed by the regular executive departments.” United States Brief at

24, Humphrey’s Executor, 295 U.S. 602 (No. 667), 1935 WL 32965.

Indeed, although agencies may engage in rulemaking or adjudication, those

activities “are exercises of—indeed, under our constitutional structure they

must be exercises of—the ‘executive Power.’” City of Arlington v. FCC, 569

U.S. 290, 304 n.4 (2013).

     Accordingly, the courts of appeals have faithfully applied Humphrey’s

Executor in cases involving the SEC and the modern Federal Trade



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Commission, which all agree exercise executive power. See SEC v. Blinder,

Robinson & Co., 855 F.2d 677, 682 (10th Cir. 1988) (holding that SEC did

not operate in violation of the separation-of-powers under Humphrey’s

Executor); Ticor Title Ins. Co. v. FTC, 814 F.2d 731, 740-41 (D.C. Cir. 1987)

(explaining that “the FTC has been exercising law enforcement powers free

from successful constitutional challenge ever since that seminal decision”).

This Court in Collins v. Mnuchin similarly recognized that the FTC in

Humphrey’s Executor exercised “executive” authority “at least to some

degree” and that the Supreme Court “has not, however, formally abrogated

the Humphrey’s Executor holding.” Collins v. Mnuchin, 896 F.3d 640, 671

n.241 (5th Cir. 2018) (per curiam) (quoting Morrison, 487 U.S. at 690

n.28); see also Collins v. Mnuchin, 938 F.3d 553, 587 (5th Cir. 2019) (en

banc) (holding that Humphrey’s Executor applies only to “multi-member

bodies of experts” and not to agencies with a single head).

      In the face of this formidable body of precedent and practice, the

district court reached a novel and contrary result by embracing a flawed

reading of Seila Law. The dispositive factor in that case was the CFPB’s

“leadership by a single individual” with removal restrictions, which

“violate[d] the separation of powers,” 140 S. Ct. at 2197, as the “single-

Director structure [wa]s an innovation with no foothold in history or



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tradition,” id. at 2202.4 Indeed, given that plaintiffs emphasize that the

CPSC served in some respects as a model for the CFPB (Br. 21), it is notable

that Seila Law’s reasoning does not turn on any characteristic shared by the

CPSC and the CFPB. The Supreme Court instead relied exclusively on the

major difference between them, namely, that one is a multi-member agency

while the other is headed by a single Director. If the fatal defect in Seila

Law was CFPB’s exercise of substantial executive power, the Court could

have simply said so and would have had no reason to parse, as it did, the

historical record regarding single-headed agencies. See Seila Law, 140 S.

Ct. at 2201-02. This analysis was necessary, however, because Seila Law’s

“rationale” rested on CFPB’s novel structure. But see Br. 30 (asserting that

the United States—which argued that the CFPB’s removal restrictions were

unconstitutional—somehow ignores Seila Law’s rationale).

      Disregarding the actual holding and reasoning of Seila Law, the

district court and plaintiffs rely on a brief passage in the opinion that

characterized Humphrey’s Executor and Morrison as establishing

exceptions for “multimember expert agencies that do not wield substantial

executive power, and . . . for inferior officers with limited duties and no


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       By contrast, multi-member agencies with removal restrictions have
existed for 135 years. See Act of Feb. 4, 1887, ch. 104, § 11, 24 Stat. 379, 383
(creating the Interstate Commerce Commission).


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policymaking or administrative authority.” Seila Law, 140 S. Ct. at 2199-

2200. The district court agreed with plaintiffs’ assertion that in this

characterization of past precedents, which the Supreme Court did not

purport to revisit, the Court implicitly overruled Humphrey’s Executor on

its own facts and set aside nearly a century’s worth of Supreme Court

precedent, congressional legislation, and Executive Branch practice and

understanding predicated upon that decision. Indeed, although they

demur that the Court need not decide what consequences would ensue from

affirming the district court’s conclusion, plaintiffs offer no example of any

multi-member federal agency whose structure would be constitutional

under the district court’s understanding. To accept plaintiffs’ argument is

to believe that the Supreme Court sub silentio abrogated one of its seminal

precedents concerning the constitutional separation of powers.

      That account of Seila Law is not plausible. Removal restrictions for

heads of multi-member agencies were not at issue in Seila Law, and the

Supreme Court did not in passing announce that such removal restrictions

would be unconstitutional in any multi-member agency that wielded more

than de minimis executive power. The point of the Court’s characterization

in that passage was to summarize the distinction it has consistently drawn

between the multifaceted functions and historical practices of multi-



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member agencies—what the Court explained was the original domain of

Humphrey’s Executor—and traditional, single-headed Executive Branch

agencies directly accountable to the President. Notably, the Seila Law

passage stressed by plaintiffs cites with approval to an opinion by then-

Judge Kavanaugh that describes Humphrey’s Executor as standing for the

proposition that Congress can create independent multimembers agencies

and contrasts that historically rooted practice with the CFPB’s novel single-

Director structure. See Seila Law, 140 S. Ct. at 2200; PHH Corp., 881 F.3d

at 170 (Kavanaugh, J., dissenting); see also id. at 173 (describing the CPSC

as falling within a long historical tradition of “independent agencies

exercising substantial executive authority”). And any remaining doubt as to

whether the Supreme Court intended to functionally jettison Humphrey’s

Executor is dispelled by Seila Law’s observation that Congress could cure

the identified constitutional infirmity in the CFPB’s structure by

“converting the CFPB into a multimember agency,” 140 S. Ct. at 2211—a

suggestion impossible to reconcile with the district court’s understanding.5



      5Plaintiffs emphasize (Br. 31) certain statements made in the
Supreme Court brief filed by the United States in Seila Law. But that brief
contended that Humphrey’s Executor must be understood as turning on
the structure of the FTC, rather than the nature of the power it exerted.
United States Brief at 27, Seila Law, 140 S. Ct. 2183 (No. 19-7), 2019 WL
6727094. It did not argue that every federal agency that exercises executive
                                                                   Continued on next page.


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      This Court, sitting en banc, recently reiterated that lower courts may

not properly conclude that the Supreme Court has overruled a prior

decision “sub silentio merely because its reasoning . . . appear[s]

inconsistent with later cases.” Cochran, 20 F.4th at 206 n.11 (quotation

marks omitted). Once the Supreme Court has upheld a statute against a

constitutional challenge—including the statutory removal restrictions in

Humphrey’s Executor—“an inferior court must accept it as a final

adjudication of that question in its broadest extent, and cannot enter into a

fresh inquiry into the validity of the statute . . . for it is a presumption of law

that all existing reasons that could be presented against the statute were

considered by the appellate court and held insufficient.” H. Black,

Handbook on the Law of Judicial Precedents 295 (1912). And in doing so,

the Court must not “construe or interpret” the Supreme Court’s opinion

“for the purpose of evading or distinguishing away a pertinent decision.”

Id. at 297.

      That is particularly clear here because the Supreme Court has

repeatedly acknowledged the continuing validity of Humphrey’s Executor

as to federal multi-member agencies generally. Free Enterprise, for




power must without exception be headed by individuals subject to removal
at will by the President.

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example, provided a remedy for a separation-of-powers violation by

severing removal restrictions for inferior officers while leaving intact

removal restrictions for the SEC, holding that this remedy rendered the

SEC “fully responsible” and subject to constitutionally required

“Presidential oversight.” Free Enterprise, 561 U.S. at 509; see also id. at

483 (“The parties do not ask us to reexamine” Humphrey’s Executor or

other removal “precedents, and we do not do so.”). Similarly, as already

noted, Seila Law held that Congress was free to cure the identified

constitutional infirmity, if it wished, by “converting the CFPB into a

multimember agency.” 140 S. Ct. at 2211. And Collins explained that the

Supreme Court’s removal precedents are not to be applied based on a

comparative evaluation of an agency’s authority, as “[c]ourts are not well-

suited to weigh the relative importance of the regulatory and enforcement

authority of disparate agencies, and we do not think that the

constitutionality of removal restrictions hinges on such an inquiry.” 141 S.

Ct. at 1785.

      Plaintiffs also mistakenly contend (at 32-33) that this Court has

already adopted their argument, relying on Jarkesy, 34 F.4th 446. But

Jarkesy held that “even principal officers may retain for-cause protection

when they act as part of an expert board,” citing Seila Law. Jarkesy, 34



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F.4th at 463. It was only when those removal restrictions for the SEC were

combined with removal restrictions for administrative law judges that the

Court saw a constitutional infirmity. Id. (“[A] problem arises when both of

those protections act in concert.”). The SEC undoubtedly qualifies as an

agency that exercises substantial executive authority, from rulemaking to

bringing enforcement actions—if it were already clear that under Seila Law

the SEC could not possess any removal restrictions, then the fact that those

officers serve “as part of an expert board” would have been irrelevant to

Jarkesy’s analysis.6

      The district court, in sum, had no warrant to depart from

Humphrey’s Executor when the Supreme Court has not done so. It is the

Supreme Court’s prerogative to decide whether to overrule its own cases

(and to decide whether to take up the question at all). As a “‘strict stare

decisis’ court,” this Court “cannot ignore a decision from the Supreme

Court,” and it does not have “license to disregard or overrule [Supreme




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        Plaintiffs’ citation to Exela Enterprise Solutions, Inc. v. NLRB, 32
F.4th 436 (5th Cir. 2022), is even further afield, as that case concerned
whether a single officer—not a multi-member board—possessed implied
statutory removal restrictions. See id. at 441 (“[N]o provision of the
[statute] protects the General Counsel of the NLRB from removal.”). And
this Court’s quotation of Seila Law’s description of Humphrey’s Executor,
id. at 444, has no bearing on the scope or continuing validity of that
precedent.

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Court] precedent.” National Coal. for Men, 969 F.3d at 549-50 (quoting

Ballew v. Continental Airlines, Inc., 668 F.3d 777, 782 (5th Cir. 2012)).

That rule is “both wise and necessary: it promotes consistency and

predictability while discouraging adventurous second-guessing by widely

dispersed subaltern judges.” Bryan A. Garner et al., The Law of Judicial

Precedent 30 (2016). Even if this Court agrees that plaintiffs have

identified a meaningful tension between phrases in Seila Law and the

Supreme Court’s other decisions, the task of a “federal appellate court is to

follow the Supreme Court’s directions, not pick and choose among them as

if ordering from a menu.” Surefoot LC v. Sure Foot Corp., 531 F.3d 1236,

1243 (10th Cir. 2008) (Gorsuch, J.).




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                             CONCLUSION

     For the foregoing reasons, the judgment of the district court should

be vacated and the case remanded.

                                           Respectfully submitted,

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                        CERTIFICATE OF SERVICE

     I certify that on November 14, 2022, I filed a copy of this brief with

the Clerk of Court for the Fifth Circuit Court of Appeals through the Court’s

CM/ECF system, which will serve counsel for all parties.

                                           /s/ Joshua M. Salzman
                                          Joshua M. Salzman



                   CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limit of Federal Rule of

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